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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

x
DENVER MCFADDEN,
Plantiff, .
-against- . 19-CV-5508 (VSB)
City OF NEW YORK, et al, : .
| Defendants +
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DENVER MCPADDEN, Defendant:

The Plaintiff, Denver McFadden hereby requests the court accept |
this amended complaint wherein I will name certain John Doe :
defendants in order that they be served notice of this §1983
action in this Court.

The plaintiff filing as a Pro Se litigant reserves all rights
and considerations due a plantiff filing as such.

I name Dr.Erick Eiting, M.D. as a Defendent. Dr. Biting is
named as a defendant due to his Medical Indifference and failure
to treat a serious head wound. His negligence in dealing what
would be determined later to be traumatic brain injury and a
severely pinched nerve’ causing serious chronic pain and mobility
issues. On April loth, 2017, in the late evening hours I was
brought to Bellevue Hospital in New York by the New York Police
Department. I was suffering from a head wound and a back injury,
neck injury, by the N.Y.P.D. during an arrest. I was placed in a
hallway with approximately 50 other patients in the lobby. Dr. Eiting
gave me a cursory look and released me back to the N.¥.P.D. Officers”
‘that were standing with me. In the hallway, I was not given a
' proper exam and there were no Xrays or diagnostic tests performed
at all. Discovery will prove that. Dr. Eiting was neglient and |

completely indifferent to my medical emergency. I am amending my
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complaint to include Detectives William McLaughlin, O'leary, Peter
Lumina, Austin Morange, and Sgt. Al Cantora Ooal. These Dectives
and Sgt. are directly responsible for injuries to myself which were
a direct result of the excessive force used by these N.Y.P.D.
Officers during my arrest on April 19, 2017.

| I ask the Court to assist with the identification of two
Officers known only as John Doe at this time.

I have written to the Director of New York Department of
Corrections seeking assistance in identifying these two Correctional
Officers. I have provided the time frame from 4:00 PM-12:00AM.

I was held in a holding cell with approximately 50 others at

Ryker Island Institution. Records should clearly show the two

(I believe males} who were responsible for my safety and security.
Duty rosters should show these Officers named. I filed a complaint
soon after this happened with the Civilian Criminal Review Board
and it's counterpart with the Correctional Department. No response
was ever returned from the Review arm of the N.Y. Corrections
Department.

I will request Discovery of Records maintained by the New York
Department of Corrections in an effort to identify these Officers.
I will contact the court when I am able to identify these
Correctional Officers and request an amended Complaint adding their

legal names at that time.
In the interest of Justice I request the Honorable Court to accept.
and amend my §1983 Complaint to include the previously mentioned

defendants in this action.
  

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